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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF NEW YORK
=====================================
ABRAHAM RETEK individually and
on behalf of all others similarly situated


                            Plaintiff,


              -against-


MERCANTILE ADJUSTMENT BUREAU, LLC


                            Defendant.

=====================================

                                 CLASS ACTION COMPLAINT

                                         I.   Introduction

       Now comes Plaintiff, by and through his attorneys, and, for her Complaint

alleges as follows:

       1.     Plaintiff Abraham Retek brings this action to secure redress from unlawful

collection practices engaged in by Defendant Mercantile Adjustment Bureau, LLC.

       2.     Plaintiff alleges violations of the Fair Debt Collection Practices Act, 15

U.S.C. Section 1692 et seq. ("FDCPA").

       3.     The FDCPA broadly prohibits unfair or unconscionable collection

methods, conduct which harasses or abuses any debtor, and any false, deceptive or

misleading statements in connection with the collection of a debt. 15 U.S.C. Section

1692d, 1692e and 1692f.




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                                            II.     Parties

        4.    Plaintiff is a citizen of the State of New York who resides within this

District.

        5.    Plaintiff is a consumer as that term is defined by Section 1692(a)(3) of the

FDCPA, in that the alleged debt that Defendant sought to collect from Plaintiff is a

consumer debt.

        6.    Upon information and belief, Defendant's principal place of business is

located in Williamsville, New York.

        7.    Defendant is regularly engaged, for profit, in the collection of debts

allegedly owed by consumers.

        8.    Defendant is a “debt collector” as that term is defined by the FDCPA, 15

U.S.C. § 1692(a)(6).

                               III.   Jurisdiction and Venue

        9.    This Court has federal question jurisdiction under 15 U.S.C. § 1692k(d)

and 28 U.S.C. § 1331.

        10.   Venue is proper in this district pursuant to 28 U.S.C. § 1391(b), as the

acts and transactions that give rise to this action occurred, in substantial part, in this

district.

                                      IV.         Allegations

        11.   On or about September 7, 2017, Defendant sent a collection letter to the

Plaintiff Abraham Retek. (see attached exhibit)

        12.   The said letter was an effort to collect on a consumer debt.

        13.   The September 7, 2017 letter stated in pertinent part as follows: “Please




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send payment or correspondence to: Mercantile Adjustment Bureau, LLC PO Box

9055 Williamsville NY 14231-9055.”

        14.     The FDCPA states in Section 1692g(b):

         “[a]ny collection activities and communication during the 30-day period may not
        overshadow or be inconsistent with the disclosure of the consumer's right to
        dispute the debt or request the name and address of the original creditor.”

        15.     Such overshadowing of a consumer’s validation rights occurs not only

when a validation notice provides inconsistent language, but also in a case when the

general tenor of the statement would mislead the unsophisticated consumer and

encourage him to disregard her rights under the FDCPA.1

        16.     The Defendant’s said statement bolsters the belief that disputes may not

be made orally by stating that any correspondence regarding this account must be in

writing to the PO Box address.2

        17.     Although not expressly stated, the letter implies that any correspondence

regarding this account, other than correspondence to discuss payment arrangements,

must be in writing and directed to the PO Box address.

        18.     However, these statements are false since Plaintiff can dispute the debt




1 Balke v. All. One Receivables Mgmt., No. 16-cv-5624(ADS)(AKT), 2017 U.S. Dist. LEXIS 94021, at *14
(E.D.N.Y. June 19, 2017) ("the Court finds that, although the Collection Letter did not explicitly state that
the Plaintiff could only dispute the debt in writing, from the perspective of the least sophisticated
consumer, the inclusion of a mailing address to which "all correspondence for this account should be
mailed" introduces enough uncertainty regarding the permissible methods of disputing the debt to state a
plausible claim for relief under the statute.")
2 See e.g., Caprio v. Heathcare Revenue Recovery Group, LLC, 709 F.3d 142, 151 (3d Cir. 2013) (letter

stating “if you feel you do not owe this amount, please call us toll free” overshadowed notice; consumer
may believe that a phone call was sufficient to trigger duty to verify debt); Abramov v. I.C. Systems, Inc.,
_ F.Supp.3d_, 2014 WL 5147549 at *5 (E.D.N.Y Oct. 14, 2014) (Directing consumer to dispute debt “in
writing” if identity theft is suspected may overshadow right to verbally dispute debt); Oberther v. Midland
Credit Management, Inc., _F.Supp.3d_, 2014 WL 4548871, at *6 (D. Mass. Sept. 15, 2014) (letter that
gave only two options to stop referral of account to attorney – mail payment, or call to settle – without
mentioning that submitting a dispute would also do so, overshadowed validation notice.)



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orally over the phone, without having to do so in writing to the PO Box address.3

        19.     Defendant’s letter contradicts the validation notice in that it would make

the least sophisticated consumer uncertain or confused as to his right to dispute the

debt orally.

        20.     A letter is overshadowing or inconsistent if the unsophisticated consumer

would be confused as to his rights under the FDCPA.

        21.     The letter overshadows and contradicts the Plaintiff’s right to dispute the

debt orally and thus violates the FDCPA.

        22.     The September 7, 2017 letter violated 15 U.S.C. §§ 1692g(a) &

1692e(10), for overshadowing the Plaintiff’s rights within the thirty-day period, and for

engaging in false and deceptive practices.

        23.     Plaintiff suffered injury in fact by being subjected to unfair and abusive

practices of the Defendant.

        24.     Plaintiff suffered actual harm by being the target of the Defendant's

misleading debt collection communications.

3 Hooks v. Forman, Holt, Eliades & Ravin, LLC, 717 F.3d 282, 2013 U.S. App. LEXIS 10754, 2013 WL
2321409 (2d Cir. N.Y. 2013) (Requiring a consumer to dispute a debt in writing violates the FDCPA.);
Balke v. Alliance One Receivables Mgmt., No. 16-cv-5624(ADS)(AKT), 2017 U.S. Dist. LEXIS 94021, at
*14 (E.D.N.Y. June 19, 2017) ("[T]he Plaintiff correctly notes that consumers are not required to dispute
an alleged debt in writing. Thus, by advising the consumer that any correspondence for this account
should be sent to the listed mailing address, it wrongly implies that disputes must be made in
writing, and may lead the least sophisticated consumer to believe she has that obligation. . . . It is
undisputed that the Second Circuit has prohibited debt collectors from stating, directly or indirectly, that
consumers may only enforce their right to dispute an alleged debt in writing.") (emphasis added);
Vetrano v. CBE Grp., Inc., 2016 WL 4083384 (E.D.N.Y. Aug. 1, 2016) ("Because the language "written
disputes" as used in the challenged phrase has the potential to overshadow or contradict the information
contained within the Section 1692g notice and thereby confuse or mislead the least sophisticated
consumer into erroneously believing that a dispute must be in writing, the Plaintiff has stated a valid
cause of action under this theory of recovery."); Zengerle v. Dynia & Assocs., 2013 U.S. Dist. LEXIS
130873 (M.I. 2013) (Defendant points out that the letter does not expressly state that the consumer must
provide a written statement to dispute the debt, but only that the consumer must “provide us with a
statement.” Viewing the language from the perspective of the least sophisticated consumer, however,
“provide us with a statement” suggests that a writing is necessary and that the consumer may not orally
dispute the debt.)



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       25.     The Plaintiff alleges and avers that Defendant violated the Plaintiff's right

not to be the target of misleading debt collection communications.

       26.     The Plaintiff alleges and avers that Defendant violated the Plaintiff's right

to a truthful and fair debt collection process.

       27.     The Plaintiff alleges and avers that the Defendant used materially false,

deceptive, misleading representations and means in its attempted collection of

Plaintiff's alleged debt.

       28.     The Plaintiff alleges and avers that Defendant's communications were

designed to cause the debtor to suffer a harmful disadvantage in charting a course of

action in response to the Defendant's collection efforts.

       29.     The FDCPA ensures that consumers are fully and truthfully apprised of

the facts and of their rights, the act enables them to understand, make informed

decisions about, and participate fully and meaningfully in the debt collection process.

The purpose of the FDCPA is to provide information that helps consumers to choose

intelligently. The Defendant's false representations misled the Plaintiff in a manner that

deprived him of his right to enjoy these benefits, these materially misleading

statements trigger liability under section 1692e of the Act.

       30.     These deceptive communications additionally violated the FDCPA since

they frustrate the consumer’s ability to intelligently choose his or her response.

       31.     Plaintiff seeks to end these violations of the FDCPA. Plaintiff has suffered

damages including but not limited to, fear, stress, mental anguish, emotional stress and

acute embarrassment. Plaintiff and putative class members are entitled to preliminary

and permanent injunctive relief, including, declaratory relief, and damages.




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                                       V.   Class Allegations

       32.    This action is brought as a class action. Plaintiff brings this action on

behalf of herself and on behalf of all other persons similarly situated pursuant to Rule

23 of the Federal Rules of Civil Procedure.

       33.    The identities of all class members are readily ascertainable from the

records of the Defendant and those business and governmental entities on whose

behalf it attempts to collect debts.

       34.    Excluded from the Plaintiff's Class is the Defendant and all officers,

members, partners, managers, directors, and employees of the Defendant, and all of

their respective immediate families, and legal counsel for all parties to this action and

all members of their immediate families.

       35.    There are questions of law and fact common to the Plaintiff's Class,

which common issues predominate over any issues involving only individual class

members. The principal issues are whether the Defendant's communications with the

Plaintiff, such as the above stated claims, violate provisions of the FDCPA.

       36.    The Plaintiff's claims are typical of the class members, as all are based

upon the same facts and legal theories.

       37.    The Plaintiff will fairly and adequately protect the interests of the Plaintiff's

Class defined in this complaint. The Plaintiff has retained counsel with experience in

handling consumer lawsuits, complex legal issues, and class actions, and neither the

Plaintiff nor his attorneys have any interests, which might cause them not to vigorously

pursue this action.




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       38.    This action has been brought, and may properly be maintained, as a

class action pursuant to the provisions of Rule 23 of the Federal Rules of Civil

Procedure because there is a well-defined community interest in the litigation:

       (a)        Numerosity: The Plaintiff is informed and believes, and on that basis

alleges, that the Plaintiff's Class defined above is so numerous that joinder of all

members would be impractical.

       (b)        Common Questions Predominate: Common questions of law and

fact exist as to all members of the Plaintiff's Class and those questions predominate

over any questions or issues involving only individual class members. The principal

issues are whether the Defendant's communications with the Plaintiff, such as the

above stated claims, violate provisions of the FDCPA.

       (c)        Typicality: The Plaintiff's claims are typical of the claims of the class

members. Plaintiff and all members of the Plaintiff's Class defined in this complaint

have claims arising out of the Defendant's common uniform course of conduct

complained of herein.

       (d)        Adequacy: The Plaintiff will fairly and adequately protect the

interests of the class members insofar as Plaintiff has no interests that are adverse to

the absent class members. The Plaintiff is committed to vigorously litigating this matter.

Plaintiff has also retained counsel experienced in handling consumer lawsuits, complex

legal issues, and class actions. Neither the Plaintiff nor his counsel have any interests,

which might cause them not to vigorously pursue the instant class action lawsuit.

       (e)        Superiority: A class action is superior to the other available means

for the fair and efficient adjudication of this controversy because individual joinder of all




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members would be impracticable. Class action treatment will permit a large number of

similarly situated persons to prosecute their common claims in a single forum efficiently

and without unnecessary duplication of effort and expense that individual actions would

engender. Certification of a class under Rule 23(b)(l)(A) of the Federal Rules of Civil

Procedure is appropriate because adjudications with respect to individual members

create a risk of inconsistent or varying adjudications which could establish incompatible

standards of conduct for Defendant who, on information and belief, collects debts

throughout the United States of America.

       39.    Certification of a class under Rule 23(b)(2) of the Federal Rules of Civil

Procedure is also appropriate in that a determination that the above stated claims,

violate provisions of the FDCPA, and is tantamount to declaratory relief and any

monetary relief under the FDCPA would be merely incidental to that determination.

       40.    Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil

Procedure is also appropriate in that the questions of law and fact common to

members of the Plaintiff's Class predominate over any questions affecting an individual

member, and a class action is superior to other available methods for the fair and

efficient adjudication of the controversy.

       41.    Further, Defendant has acted, or failed to act, on grounds generally

applicable to the Rule (b)(l)(A) and (b)(2) Class, thereby making appropriate final

injunctive relief with respect to the Class as a whole.

       42.    Depending on the outcome of further investigation and discovery, Plaintiff

may, at the time of class certification motion, seek to certify one or more classes only

as to particular issues pursuant to Fed. R. Civ. P. 23(c)(4).




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                                    VI.    Cause of Action

      43.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      44.     This cause of action is brought on behalf of Plaintiff and the members of

a class of whom Defendant's records reflect resided in the State of New York:

            a) who were sent a collection letter in substantially the same form letter as

               the letter sent to the Plaintiff, within one year prior to the date of the

               within complaint up to and including the date of the filing of this

               complaint;

            b) the collection letter was sent to a consumer seeking payment of a

               personal debt;

            c) the collection letter was not returned by the postal service as undelivered;

            d) the Plaintiff alleges and avers that the letter contained violations of 15

               U.S.C. §§ 1692g(a) & 1692e(10), for overshadowing Plaintiff’s rights

               within the thirty-day period, and for engaging in false and deceptive

               practices.

                VII.   Violations of the Fair Debt Collection Practices Act

      45.     The Defendant's actions as set forth above in the within complaint

violates the FDCPA.

      46.     Because the Defendant violated the FDCPA, the Plaintiff and the

members of the class are entitled to damages in accordance with the FDCPA.

      47.     As a direct and proximate result of these violations of the above FDCPA

violations, Plaintiff and class members have suffered harm and are entitled to




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preliminary and permanent injunctive relief, and to recover statutory damages, costs

and attorney's fees.

                                    VIII.    Jury Demand

      48.    Plaintiff demands a trial by jury.

                                   IX.      Prayer for Relief

      49.    Plaintiff demands the following relief:

WHEREFORE, the Court should enter Judgment in favor of Plaintiff and against

Defendant for:

             1) Statutory damages under the FDCPA, 15 U.S.C. § 1692(k);

             2) Attorney fees, litigation expenses and costs of suit;

             3) An order enjoining and directing Defendant to comply with the FDCPA

                 in its debt collection activities; and

             4) Such other and further relief as the Court deems proper.

Dated: Brooklyn, New York
 September 7, 2018



                                 /s/ David Palace_______
                                 Law Offices of David Palace (DP 3855)
                                 383 Kingston Ave. #113
                                 Brooklyn, New York 11213
                                 Telephone: 347-651-1077
                                 Facsimile: 347-464-0012




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